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                   15

                   16                                 UNITED STATES DISTRICT COURT

                   17                            NORTHERN DISTRICT OF CALIFORNIA

                   18                                    SAN FRANCISCO DIVISION

                   19

                   20   ALEX BERENSON,                                 Case No. 3:21-cv-09818-WHA

                   21                    Plaintiff,                    STIPULATION EXTENDING TIME TO
                                                                       RESPOND TO COMPLAINT
                   22          v.
                                                                       CIV. L.R. 6-1(A)
                   23   TWITTER, INC.,

                   24                    Defendant.

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COOLEY LLP
ATTORNEYS AT LAW                                                                          STIPULATION EXTENDING TIME
 SAN FRANCISCO                                                                               TO RESPOND TO COMPLAINT
                                                                                          CASE NO. 3:21-CV-09818-WHA
                          Case 3:21-cv-09818-WHA Document 25 Filed 01/10/22 Page 2 of 3



                    1          Pursuant to Civil Local Rule 6-1(a), Plaintiff Alex Berenson and Defendant Twitter, Inc.,

                    2   by and through their respective counsel, hereby stipulate as follows:

                    3          WHEREAS, on December 20, 2021, Plaintiff Alex Berenson filed a complaint against

                    4   Twitter, Inc. (the “Complaint,” ECF No. 1) in the U.S. District Court for the Northern District of

                    5   California;

                    6          WHEREAS, on December 22, 2021, Plaintiff served the Complaint on Twitter;

                    7          WHEREAS, Plaintiff has agreed to extend the last day by which Twitter may answer or

                    8   otherwise respond to the Complaint to February 11, 2022;

                    9          WHEREAS, the extension of Twitter’s time to respond to the Complaint will not alter the

                   10   date of any event or any deadline already fixed by Court order;

                   11          NOW THEREFORE, IT IS HEREBY STIPULATED by and between the parties, through

                   12   their respective counsel, to extend the last day by which Twitter may answer, move, or otherwise

                   13   respond to the Complaint to February 11, 2022.

                   14   Dated: January 10, 2022                              COOLEY LLP
                   15

                   16                                                        By: /s/ Kyle C. Wong
                                                                                 Kyle C. Wong
                   17
                                                                                 Attorneys for Defendant
                   18                                                            TWITTER, INC.
                   19

                   20   Dated: January 10, 2022                              CHARIS LEX P.C.
                   21

                   22                                                        By: /s/ Sean P. Gates
                                                                                 Sean P. Gates
                   23
                                                                                 Attorneys for Plaintiff
                   24                                                            ALEX BERENSON
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COOLEY LLP
ATTORNEYS AT LAW                                                                                 STIPULATION EXTENDING TIME
 SAN FRANCISCO                                                           1                          TO RESPOND TO COMPLAINT
                                                                                                 CASE NO. 3:21-CV-09818-WHA
                           Case 3:21-cv-09818-WHA Document 25 Filed 01/10/22 Page 3 of 3



                    1                              ATTESTATION OF CONCURRENCE IN FILING

                    2               Pursuant to Civ. L.R. 5-1(i)(3), I hereby attest that concurrence in the filing of this

                    3   document has been obtained from counsel for Plaintiff.

                    4   Dated: January 10, 2022                                    By: /s/ Kyle C. Wong
                                                                                       Kyle C. Wong
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COOLEY LLP
ATTORNEYS AT LAW                                                                                      STIPULATION EXTENDING TIME
 SAN FRANCISCO                                                                 2                         TO RESPOND TO COMPLAINT
                                                                                                      CASE NO. 3:21-CV-09818-WHA
